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                                    UNITED
                                    UNITED STATES
                                           STATES DISTRICT COURT
                                                           COURT
                                         DISTRICT OF MAINE
                                                  OF MAINE

RAISHAWN
RAISHAWN KEY   KEY
     Plaintiff
     Plaintiff
v.
v.                                                                              Case No. 1:17-cv-00007-JDL
                                                                                Case No. 1:17-ev-00007-ThL
CITY
CITY OF   AUGUSTA,
     OF AUGUSTA,
ROBERTA
ROBERTA FOGG, FOGG,
WILLIAM
WILLIAM BRIDGEO,
             BRIDGED,
SUE
SUE GOSSELIN,
    GOSSELIN, &     &
JOHN
JOHN DOES
     DOES ##      1-4,
               ## 1-4,
     Defendants.
     Defendants.

             PLAINTIFF'S
             PLAINTIFF'S FIRST CONSOLIDATED
                               CONSOLIDATED DISCOVERTY
                                            DISCOVERTY REQUESTS
                                                       REQUESTS

Pursuant
Pursuant to  to Rules 33-34, 36,
                Rules 33-34,  36, Fed.R.Civ.P.,
                                  Fed.R.Civ.P., Plaintiff
                                                  Plaintiff Raishawn    Key, requests
                                                             Raishawn Key,      requests that
                                                                                           that the     City of
                                                                                                 the City     of
Augusta,
Augusta, Roberta
             Roberta Fogg,   William Bridgeo,
                      Fogg, William    Bridgeo, Sue    Gosselin, and
                                                 Sue Gosselin,    and John
                                                                       John Does
                                                                               Does ## 1-41-4 (collectively,
                                                                                               (collectively, the  the
Defendants)
Defendants) respond
                 respond and
                          and produce
                              produce asas appropriate
                                            appropriate the   below requests,
                                                          the below requests, providing
                                                                                 providing such
                                                                                              such request
                                                                                                       request to to
the plaintiff at
the plaintiff   at    807  Cushing Road,
                      807 Cushing            Warren, ME.
                                    Road, Warren,      ME.04864,    within thirty
                                                             04864, within    thirty (30)
                                                                                      (30) days
                                                                                            days ofof the    date
                                                                                                       the date
hereof.
hereof.

DEFINITIONS AND      AND INSTRUCTIONS
                              INSTRUCTIONS
For
For the
      the sake
            sake of
                 of simplicity
                    simplicity and
                                 and to
                                     to prevent
                                        prevent unnecessary
                                                 unnecessary duplicity,
                                                               duplicity, the
                                                                           the plaintiff
                                                                               plaintiff accepts
                                                                                           accepts the
                                                                                                   the
definitions
definitions andand instructions
                    instructions provided
                                  provided byby the
                                                the Defendants
                                                    Defendants as   outlined in
                                                                 as outlined   in the
                                                                                   the Defendant's
                                                                                         Defendant's First
                                                                                                       First
Consolidated Discovery
Consolidated      Discovery Request
                                Request dated
                                         dated on April
                                                   April 10,
                                                         10, 2017.
                                                             2017.

                                        REQUESTS
                                        REQUESTS FOR
                                                 FOR PRODUCTION
                                                     PRODUCTION

    1. All
    1. All documents
             documents showing
                            showing or  or reflecting
                                           reflecting communications
                                                           communications between  between the  the plaintiff
                                                                                                     plaintiff andand the    City
                                                                                                                      the City
       of   Augusta and
       of Augusta       and its
                             its employee's
                                 employee's agents.
                                                 agents. Contractors,         vendors, and/or
                                                              Contractors, vendors,         and/or other
                                                                                                      other third    parties.
                                                                                                               third parties.
    2. All documents
    2. All   documents reflecting,
                            reflecting, containing,
                                          containing, or     or showing
                                                                 showing non     -privileged
                                                                            non-privileged        communications
                                                                                                  communications
       amongst
       amongst the  the City
                         City of   Augusta, its
                                of Augusta,     its employees',
                                                      employees', agents,
                                                                       agents, contractors,
                                                                                 contractors, vendors,
                                                                                                   vendors, and/or
                                                                                                                 and/or other
                                                                                                                          other
       third
       third parties
                parties relating
                         relating to
                                   to the  plaintiff,
                                      the plaintiff,      whether directly
                                                          whether      directly or
                                                                                 or tangentially,
                                                                                     tangentially, and/or
                                                                                                        and/or relating
                                                                                                                  relating to to
       the
       the allegations
             allegations in in the
                                the Complaint.
                                    Complaint.
    3.
    3. Any and      all documents
               and all   documents containing
                                       containing policies,
                                                        policies, procedures,
                                                                     procedures, regulations,
                                                                                     regulations, directives,
                                                                                                       directives,
       memorandums, departmental
       memorandums,                            protocols, instructions,
                              departmental protocols,            instructions, etc.
                                                                                 etc. created     and/or utilized
                                                                                       created and/or        utilized by thethe
       City of
       City       Augusta in
               of Augusta     in executing
                                  executing the       manner, methods,
                                               the manner,         methods, and
                                                                              and conditions
                                                                                     conditions by  by which
                                                                                                         which Voter
                                                                                                                   Voter
       Registration
       Registration and        Absentee Ballot
                         and Absentee      Ballot requests
                                                       requests areare received,     processed, and
                                                                        received, processed,         and disposed
                                                                                                           disposed of.of.
    4.
    4. Any and       all documents
                and all   documents containing           policies, procedures,
                                        containing policies,          procedures, regulations,
                                                                                      regulations, directives,
                                                                                                        directives,
       memorandums, departmental
       memorandums,                            protocols, instructions,
                              departmental protocols,            instructions, etc.    detailing the
                                                                                 etc. detailing     the individual
                                                                                                         individual and and
       collective
       collective responsibilities
                      responsibilities of of each
                                              each CityCity of    Augusta employee
                                                              of Augusta     employee involved
                                                                                            involved in  in the
                                                                                                              the handling
                                                                                                                   handling and and
       disposition
       disposition of      Voter Registration
                        of Voter   Registration and         Absentee Ballot
                                                      and Absentee        Ballot requests.
                                                                                  requests.



                                                                4
                                                                4
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   5. Any and
   5.         and all  documents containing
                   all documents     containing policies,       procedures, regulations,
                                                    policies, procedures,        regulations, directives,
                                                                                                  directives,
                            departmental protocols,
      memorandums, departmental
      memorandums,                           protocols, instructions,
                                                          instructions, software,
                                                                            software, data data  management
                                                                                                 management           systems,
                                                                                                                      systems,
      etc.   that provide
      etc. that   provide insight
                             insight into
                                      into how voter     address requirements
                                                  voter address      requirements are        verified, authenticated,
                                                                                        are verified,       authenticated,
      and/or
      and/or stipulated.
                stipulated.
   6.
   6. Any and      all documents
              and all  documents containing         policies, procedures,
                                     containing policies,                        regulations, directives,
                                                                procedures, regulations,           directives,
      memorandums, departmental
      memorandums,          departmental     protocols,
                                             protocols,   instructions,
                                                          instructions,     etc.
                                                                            etc.   pertaining
                                                                                   pertaining    to
                                                                                                  to   the   City's fat
                                                                                                       the City's         mal
                                                                                                                      formal
      complaint // administrative
      complaint        administrative remedy        process through
                                         remedy process        through which        citizen grievances
                                                                          which citizen       grievances may be        be
      addressed
      addressed and  and the   methods through
                          the methods                 which the
                                          through which             City of
                                                              the City       Augusta makes
                                                                          of Augusta      makes citizens          aware of
                                                                                                      citizens aware       of
      such
      such process
              process and     where such
                        and where     such infoimation
                                             information can can bebe obtained.
                                                                        obtained.
   7.
   7. Any and      all documents,
              and all  documents, records,
                                      records, database
                                                 database systems,
                                                             systems, etc.etc. that   reflect the
                                                                                that reflect           number of
                                                                                                the number             Voter
                                                                                                                   of Voter
      Registration
      Registration and                    Ballot requests
                             Absentee Ballot
                        and Absentee               requests that     have been
                                                              that have            denied during
                                                                           been denied        during the the past
                                                                                                              past eight
                                                                                                                     eight
      years    detailing descriptions
      years detailing      descriptions forfor the
                                               the reason
                                                     reason of
                                                             of such
                                                                  such denial.
                                                                         denial.
   8. All    documents     used  by
   8. All documents used by the Citythe   City  of
                                                of  Augusta
                                                    Augusta     that
                                                                that  proves
                                                                      proves    that
                                                                                that the
                                                                                      the plaintiff's
                                                                                           plaintiff's address
                                                                                                            address as as
      listed
      listed onon his   Voter Registration
                   his Voter    Registration and      Absentee Ballot
                                                and Absentee                applications isis invalid.
                                                                   Ballot applications           invalid.
   9.
   9. All    documents identified
      All documents        identified or   discussed in
                                       or discussed     in any
                                                           any of           responses to
                                                                      your responses
                                                                  of your                  to any
                                                                                               any of of these
                                                                                                           these discovery
                                                                                                                   discovery
      requests.
      requests.

                                                    INTERROGATORIES
                                                    INTERROGATORIES

        1. State
        1.   State in    detail the
                      in detail    the procedure
                                        procedure utilized
                                                        utilized byby the
                                                                       the City
                                                                             City of   Augusta in
                                                                                   of Augusta           processing absentee
                                                                                                    in processing     absentee
             ballots
             ballots
        2.
        2. State
             State in in detail
                         detail thethe procedures
                                        procedures utilized
                                                         utilized inin verifying
                                                                        verifying voter       eligibility requirements,
                                                                                     voter eligibility      requirements,
                            addresses. Please
             including addresses.
             including                      Please include
                                                       include anyany auditing      measures the
                                                                        auditing measures         the City
                                                                                                        City of              might
                                                                                                                 Augusta might
                                                                                                              of Augusta
             use   to  ensure     compliance
             use to ensure compliance with these   with   these    procedures.
                                                                   procedures.
             State in
        3. State
        3.            in detail
                         detail thethe policies     followed when accepting
                                        policies followed                  accepting Voter       Registration and
                                                                                         Voter Registration             Absentee
                                                                                                                   and Absentee
             Ballot applications
             Ballot    applications from  from a third
                                                    third party.
                                                            party.
        4.   Please describe
        4. Please       describe the the official
                                          official jobjob duties    and responsibilities
                                                           duties and      responsibilities of       all defendants
                                                                                                 of all  defendants withwith the
                                                                                                                              the
             exclusion
             exclusion of   of John
                                 John Doe
                                        Doe ##      1-4.
                                               ## 1-4.
        5.5. Name
             Name and        describe the
                       and describe       the responsibilities
                                                responsibilities of   of any
                                                                           any other
                                                                                 other City    of Augusta
                                                                                         City of   Augusta employee
                                                                                                               employee
             involved
             involved in   in the
                                the receiving,
                                     receiving, processing,
                                                    processing, handling,
                                                                     handling, and       disposition of
                                                                                   and disposition           Absentee Ballots.
                                                                                                         of Absentee     Ballots.
        6.   Please state
        6. Please       state the
                                the names,
                                     names, titles,
                                                titles, and
                                                         and duties
                                                               duties ofof any
                                                                            any other     person who was
                                                                                  other person                   involved in
                                                                                                           was involved      in the
                                                                                                                                 the
             receiving,
             receiving, handling,          processing, and
                            handling, processing,            and disposition
                                                                   disposition of     the plaintiffs
                                                                                   of the                  Voter Registration
                                                                                            plaintiff's Voter      Registration
             application
             application and   and application
                                     application for       Absentee Ballot.
                                                      for Absentee       Ballot.
                        describe how the
             Please describe
        7. Please
        7.                                        plaintiff'ss criminal
                                            the plaintiff                     history isis relevant
                                                                 criminal history          relevant or  or has
                                                                                                           has any   bearing with
                                                                                                                any bearing      with
             his right
             his  right toto vote,
                              vote, asas guaranteed
                                          guaranteed by    by state
                                                                state law.
                                                                       law.
        8.   Please state
        8. Please       state in    detail how each
                                in detail          each of     the defendants
                                                           of the                   (excluding John
                                                                    defendants (excluding           John Doe
                                                                                                           Doe ##    1 -4) feels
                                                                                                                  ## 1-4)   feels
             about       convicted felon
             about a convicted          felon exercising
                                                 exercising his  his statutorily
                                                                     statutorily protected
                                                                                    protected right
                                                                                                  right to   vote.
                                                                                                          to vote.

Note:
Note: If any of
      If any of this information isis set
                this information      set forth
                                          forth in any document,
                                                in any document, please produce that
                                                                 please produce that
document.
document.




                                                                5
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                                REQUESTS FOR ADMISSION

Defendants are requested to admit or deny the following facts:

   1. Plaintiff'ss criminal history is irrelevant to this case.
   1. Plaintiff
      Plaintiff's State I.D. shows his address as 3 Noyce Ct.
   2. Plaintiffs                                              Ct. Apt. #1, Augusta,
                                                                  Apt. #1,          ME.
                                                                           Augusta, ME.
      Defendants' received plaintiff
   3. Defendants'             plaintiff'ss Voter Registration and Absentee Ballot application on or
      about October 1,         from the Office of
                       1, 2016 from              of the Maine Secretary ofof State.

Date: May 8,
          8, 2017

Signature:                             /4"V
                      Key, Plaintiff
             Raishawn Key, Plaintiff     yf




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                                                6
